          Case: 5:07-cr-00061-KKC Doc #: 126 Filed: 09/05/13 Page: 1 of 4 - Page ID#: 232
A0245D       (Rev. 09/11) Judgment in a Criminal Case for Revocations
             Sheet 1


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                                      UNITED STATES DISTRICT COlTRT                                                       , I LID
                                                                                                                          SEP - 5 2013
                                         Eastern District of Kentucky - Lexington Division                                    AT LEXINGTON
                                                                                                                          ROBERT R CARR
                                                                                                                     CLERK U.S. DISTRICT COURT
          UNITED STATES OF AMERICA                                      Judgment in a Criminal Case
                               v.                                       (For Revocation of Probation or Supervised Release)


                   John William Rose                                    Case No.       5:07-CR-61-S-KSF-l
                                                                        USM No.        49145-080
                                                                                              Adrian M. Mendiondo
                                                                                                 Defendant's Attorney
THE DEFENDANT:

181 admitted gUilt to violation of condition(s)           1,2                           ofthe term of supervision.

o    was found in violation of condition(s)                                         after denial of guilt.


The defendant is adjudicated guilty of these violations:

    Violation Number          Nature of Violation                                                                        Violation Ended
            I                 Use of controlled substance                                                                   07/29113
            2                 Commission of a crime                                                                         07/29113




       The defendant is sentenced as provided in pages 2 through _ _4 __ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.


o    The defendant has not violated condition(s)                           and is discharged as to such violation(s) condition.


          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fmes, restitution, costs, and special assessments imposed by this judgment are
fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in
economic circumstances.

Last Four Digits of Defendant's Soc. Sec.                1121                                   September 3,2013
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                                                                               &
                                                                               _~L ~ UafcUuiL
Defendant's Year of Birth:          1968

City and State of Defendant's Residence:
London, Kentucky
                                                                        Honorable Karen K. Caldwell, Chief United States District Judge
                                                                                               Name and Title of Judge

                                                                                       ~/~U-uv 0 1 :1()13
                                                                                                         Date
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A0245D         (Rev, 09/11) Judgment in a Criminal Case for Revocations
               Sheet 2- Imprisonment

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 DEFENDANT:                   John William Rose
 CASE NUMBER:                 S:07-CR-61-S-KSF-I

                                                                  IMPRISONMENT

        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
term of: TIME SERVED


      o     The court makes the following recommendations to the Bureau of Prisons:




      o     The defendant is remanded to the custody of the United States Marshal.


      o     The defendant shall surrender to the United States Marshal for this district:

           o       at                             o       a.m.      o     p.m.    on

           o        as notified by the United States Marshal.


      o     The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

           o      before 2 p.m. on

           o      as notified by the United States Marshal.

           o      as notified by the Probation or Pretrial Services Office.

                                                                          RETURN

I have executed this judgment as follows:




          Defendant delivered on                                                       to

 at   _ _ _ _ _ _ _ _ _ _ _ _ _ _ with a certified copy of this judgment.



                                                                                               UNITED STATES MARSHAL


                                                                                 By
                                                                                            DEPUTY UNITED STATES MARSHAL
           Case: 5:07-cr-00061-KKC Doc #: 126 Filed: 09/05/13 Page: 3 of 4 - Page ID#: 234
A0245D         (Rev. 09/11) Judgment in a Criminal Case for Revocations
               Sheet 3 - Supervised Release

                                                                                                    judgment-Page   _-==-_     of        4
 DEFENDANT:                   John William Rose
 CASE NUMBER:                 5:07-CR-61-S-KSF-l

                                                             SUPERVISED RELEASE
 Upon release from imprisonment, the defendant shall be on supervised release for a term of :
                         Continue current term previously imposed, expiration date will be 06/2112021
         The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release
from the custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug
tests thereafter, as determined by the court.
         The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
 o       future substance abuse. (Check, ifapplicable.)
         The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if
         applicable.)

         The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, ifapplicable.)
         The defendant shall comply with the requirements ofthe Sex Offender Registration and Notification Act (42 U.S.c. §
 o       16901, et seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in
         which he or she resides, works, is a student, or was convicted of a qualifying offense. (Check, ifapplicable.)
 o       The defendant shall participate in an approved program for domestic violence. (Check, ifapplicable.)

        If this judgment imposes a fme or restitution, it is a condition of supervised release that the defendant pay in accordance with
the Schedule of Payments sheet ofthis judgment.
         The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
conditions on the attached page.
                                            STANDARD CONDITIONS OF SUPERVISION
   1)   the defendant shall not leave the judicial district without the permission of the court or probation officer;
   2)   the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
   3)   the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions ofthe probation officer;
   4)   the defendant shall support his or her dependents and meet other family responsibilities;
   5)   the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or
        other acceptable reasons;
   6)   the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
   7)   the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
        controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
   8)   the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
   9)   the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person
        convicted of a felony, unless granted permission to do so by the probation officer;
  10)   the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation
        of any contraband observed in plain view of the probation officer;
  II)   the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
        officer;
  12)   the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without
        the permission of the court; and
  13)   as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's
        criminal record or personal history or characteristics and shall permit the probation officer to make such notifications and to
        confirm the defendant's compliance with such notification requirement.
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A0245D        (Rev. 09/11) Judgment in a Criminal Case for Revocations
              Sheet 3C - Supervised Release

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 DEFENDANT:                  John William Rose
 CASE NUMBER:                S:07-CR-61-S-KSF-l

                                        SPECIAL CONDITIONS OF SUPERVISION
1. The defendant shall not possess a firearm, destructive device, or dangerous weapon.

2. The defendant shall participate in a substance abuse treatment program and shall submit to periodic drug and alcohol testing at the
direction and discretion of the probation officer during the term of supervision.

3. The defendant shall abstain from the use of alcohol.

4. Shall attend regularly AAiNA meetings for one year.




Pursuant to Public Law 108-405, Revised DNA Collection Requirements Under the Justice for All Act of 2004, the defendant shall
submit to DNA collection if the offense of conviction is a felony.


                                                              ACKNOWLEDGMENT


Upon a finding of a violation of probation or supervised release, I understand that the Court may (1) revoke supervision, (2) extend the
term of supervision, and/or (3) modify the conditions of supervision.

These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.


(Signed) _-,---,--_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
        (Defendant)                                                          Date


         U.    Probation OfficerlDesignated Witness                          Date
